Case 2:01-cr-20169-SH|\/| Document 163 Filed 07/14/05 Page 1 of 2 Page|D 160

IN TI'IE UNITED STATES DISTRICT COURT F|LED BY%_ D.O.

FOR THE W'ESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISI°N 05 JUL |lo AH||= 03
UNITF..D sTATEs oF Am:RICA, OEM,U.S.UM§TRG?QT%BT

Plaintiff,
MARLAN MITCH.ELL,

Defendant.

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ORDER DIRECTING CLERK TO ISSUE WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
MJondaIl August 1z 2005 at 9:00 a.m. The defendant, Marlan Mitchell,
#17865-076, is confined as a prisoner at Federal Correctional
Institution, Mmmphis, Tennessee. It is necessary to have Marlan
Mitchell appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Federal
Correctional Institution, Msmphis, Tennessee, to have said Marlan

Mitchell before this court for the hearing.

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SAMU'EL I'I. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

July , 2005.

Th\s docL ment entered on the docket sEaet ln con:zllge
with R.x\e 55 and!or 32le FRGrP on

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UNITEDsTATEs DISTRIC COURT - WETERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
case 2:01-CR-20169 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

